0004-73-EPIEXX-00436350-179562
                   Case 20-13054-JDW                Doc 28    Filed 05/05/22        Entered 05/05/22 14:14:11                 Desc
                                 UNITED STATES BANKRUPTCY
                                                Page 1 of 2 COURT
                                                    NORTHERN DISTRICT OF MISSISSIPPI
                                                          ABERDEEN DIVISION

In re: ADA BOYCE                                                                                        Case No.: 20-13054-JDW

                 Debtor(s)

                       CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Locke D. Barkley, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 10/26/2020.
2) The plan was confirmed on 12/23/2020.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 03/11/2022.
6) Number of months from filing or conversion to last payment: 17.
7) Number of months case was pending: 18.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 13,251.00.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:            $4,514.10
        Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                   $4,514.10

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $1,190.59
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                       $315.99
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $1,506.58

 Attorney fees paid and disclosed by debtor:                    $.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim              Claim         Principal           Interest
Name                                         Class            Scheduled         Asserted           Allowed       Paid                Paid

ARCO COLLECTION SERVICES                     Unsecured                 NA           80.00            80.00              .00                .00
AT&T CORP BY AMERICAN INFOSOURCEUnsecured                           80.00        1,212.14          1,212.14             .00                .00
BURCH & HURDLE LAND CO                       Secured               889.00          836.09           109.09          109.09              21.52
CT CORPORATION                               Secured                   NA              NA               NA              .00                .00
JEFFERSON CAPITAL SYSTEMS LLC                Unsecured                 .01       1,857.33          1,857.33             .00                .00
LVNV FUNDING                                 Unsecured                 .01         774.83           774.83              .00                .00
NATIONAL CREDIT ADJUSTERS                    Unsecured                 .01         982.54           982.54              .00                .00
PANOLA COUNTY CHANCERY CLERK                 Secured                   NA              NA               NA              .00                .00
PANOLA COUNTY CIRCUIT COURT CLERK
                                Secured                                NA              NA               NA              .00                .00
PANOLA COUNTY TAX COLLECTOR                  Secured                   NA              NA               NA              .00                .00
SIMONCIA BOYCE                               Secured                   NA              NA               NA              .00                .00
VANDERBILT MORTGAGE                          Secured            13,749.02       14,718.24          9,500.00      2,362.24              514.67




Page 1 of 2                                                                                                      UST Form 101-13-FR-S (9/1/2009)
0004-73-EPIEXX-00436350-179562
                   Case 20-13054-JDW            Doc 28       Filed 05/05/22         Entered 05/05/22 14:14:11                 Desc
                                  UNITED STATES BANKRUPTCY
                                                 Page 2 of 2 COURT
                                               NORTHERN DISTRICT OF MISSISSIPPI
                                                     ABERDEEN DIVISION

In re: ADA BOYCE                                                                                        Case No.: 20-13054-JDW

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim              Claim           Claim          Principal            Interest
Name                                       Class              Scheduled          Asserted        Allowed        Paid                 Paid

VANDERBILT MORTGAGE                        Unsecured                  NA         5,218.24        5,218.24               .00                .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal            Interest
                                                                                                 Allowed        Paid                 Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00             .00                 .00
     Mortgage Arrearage:                                                                              .00             .00                 .00
     Debt Secured by Vehicle:                                                                         .00             .00                 .00
     All Other Secured:                                                                          9,609.09        2,471.33              536.19
 TOTAL SECURED:                                                                                  9,609.09        2,471.33              536.19

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00              .00                .00
     Domestic Support Ongoing:                                                                         .00              .00                .00
     All Other Priority:                                                                               .00              .00                .00
 TOTAL PRIORITY:                                                                                       .00              .00                .00

 GENERAL UNSECURED PAYMENTS:                                                                    10,125.08               .00                .00

 Disbursements:
        Expenses of Administration:                                                             $1,506.58
        Disbursements to Creditors:                                                             $3,007.52
 TOTAL DISBURSEMENTS:                                                                                                              $4,514.10

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     04/29/2022                                    By:   /s/Locke D. Barkley
                                                                                 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




Page 2 of 2                                                                                                      UST Form 101-13-FR-S (9/1/2009)
